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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

     UNITED STATES OF AMERICA                         )
                                                      )
               v.                                     )
                                                      )      Criminal No. 19-10081-IT-11
     JORGE SALCEDO                                    )
                                                      )
                       Defendant                      )


             JOINT MOTION TO CONVERT PREVIOUSLY SCHEDULED
             STATUS CONFERENCE TO A FURTHER RULE 11 HEARING

         The United States of America, by and through its undersigned counsel, together with
Defendant Jorge Salcedo, by and through Susan Winkler, Esq., counsel for Defendant Salcedo,
file this joint motion to convert the status conference previously scheduled for January 14, 2021
to a further Rule 11 hearing. In support of this motion, the parties state that they have entered an
amended plea agreement which has been filed on the docket (Dkt. 615).

                                              Respectfully submitted,

                                              ANDREW E. LELLING
                                              United States Attorney

                                      By:     /s/ Kristen A. Kearney
                                              KRISTEN A. KEARNEY
                                              Assistant U.S. Attorney


                                      By:     /s/ Susan G. Winkler
                                              Susan G. Winkler
                                              BBO 530682
                                              Winkler Law LLC
                                              120 Holmes St., Ste. 313
                                              Quincy, MA 02171
                                              (617) 642-6671
                                              winkler.susan@gmail.com
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                                CERTIFICATE OF SERVICE

        I hereby certify that the parties have met and conferred about this motion for a Rule 11
hearing, and that this document filed through the ECF system will be sent electronically to the
registered participants identified on the Notice of Electronic Filing (NEF) and mailed to all those
not participating in ECF.


Dated: January 12, 2021                              By:    /s/ Kristen A. Kearney
                                                            KRISTEN A. KEARNEY
                                                            Assistant United States Attorney




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